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                           IN THE UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF ARKANSAS
                                     CENTRAL DIVISION

ENVIRO TECH CHEMICAL                                                                                PLAINTIFF
SERVICES, INC.

v.                                      Case No. 4:21-cv-00601-LPR

SAFE FOODS CORPORATION                                                                            DEFENDANT


                                                 JUDGMENT

         On December 15, 2022, this Court issued its Claim Construction Order in the above-

captioned case regarding asserted United States Patent No. 10,912,321 (“the Patent”). Doc. 82.

In that Order, this Court held, inter alia, that the term “about” (with reference to pH) is indefinite.

Doc. 82 at 28–29. All the independent Patent claims (i.e., claims 1, 10, 19, 24, and 29), which all

contain that term, and certain Patent claims depending therefrom (i.e., claims 2–3, 5–9, 11, 12, 14–

18, 21–23, 26–28, and 31–33), are invalid. This Court further held, inter alia, that the term

“antimicrobial amount” is indefinite. Doc. 82 at 32. All the independent Patent claims (i.e., claims

1, 10, 19, 24, and 29), which contain that term, and certain Patent claims depending therefrom (i.e.,

claims 2–3, 5–9, 11, 12, 14–18, 21–23, 26–28, and 31–33), are invalid. Because Patent claims 4,

13, 20, 25, and 30 were not part of Enviro Tech’s Infringement Contentions, they are not at issue

in this case.1

         Accordingly, judgment is hereby entered in favor of Defendant Safe Foods Corporation

and against Plaintiff Enviro Tech Chemical Services, Inc. on all of Enviro Tech’s legal claims in




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 To the extent those five Patent claims can be thought of as “at issue” in this case, they were not timely challenged
by Enviro Tech in the Infringement Contentions. Accordingly, Safe Foods would be entitled to judgment in its favor
with respect to any legal claim asserted by Enviro Tech concerning them.
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this case. Costs to be awarded to Defendant upon an appropriate motion. This is a final appealable

Order that disposes of the entire case.

       IT IS SO ADJUDGED this 25th of June 2024.



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                                                    LEE P. RUDOFSKY
                                                    UNITED STATES DISTRICT JUDGE




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